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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF CALIFORNIA


                                  CIVIL MINUTES



Date: February 2, 2023 (Time: 2 hours, 30 minutes) JUDGE: Phyllis J. Hamilton

Case No:19-cv-07562-PJH
Case Name: Cisco Systems, Inc., et al. v. Chung, et al.


Attorney(s) for Plaintiff:      Carson Olsheski; Julianne Thomsen; Sumeet
                                Dang; Justin Wilcox; Karen Lu, Client
                                Representative
Attorney(s) for Defendant:      Jon Dean; Russell Hayma Tala Jayadean; Michelle
                                Lowry for Plantronics
                                Daniel Muller for Wilson Chung

Deputy Clerk: Kelly Collins            Court Reporter: Raynee Mercado

                                  PROCEEDINGS

      Plaintiffs' Motion for Summary Judgment-HELD. The Court takes the matter
under submission.

       Defendant Wilson Chung’s Motion for Summary Judgment-HELD. The Court
takes the matter under submission.

      Defendant Plantronic’s Motion for Summary Judgment-HELD. The Court takes
the matter under submission.

       Defendant Plantronic’s Motion to Exclude Testimony of Andrew Crain-HELD. The
Court takes the matter under submission.

      Defendant Plantronic’s Motion to Exclude the Expert Testimony of Dominic
Persechini -HELD. The Court takes the matter under submission.

     Defendant Plantronic’s Motion to Exclude the Expert Testimony of Alan Ball-
HELD. The Court takes the matter under submission.

Order to be prepared by: [] Pl [] Def [X] Court

cc: chambers
